 Case 2:12-cr-00383-JCM-CWH            Document 100   Filed 04/08/14   Page 1 of 2



 1   MICHAEL J. MICELI, ESQ.
 2   Nevada Bar No. 010151
     601 Las Vegas Blvd. South
 3   Las Vegas, Nevada 89101
     (702) 382-9221
 4   Attorney for Defendant
 5   PORFIRIO INFANTE-CERVANTES

 6                              UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
 8
 9    UNITED STATES OF AMERICA,
10            Plaintiff,
11                                                Case No. CR-12-00383-JCM-CWH
      vs.
12
13    PORFIRIO INFANTE-CERVANTES,

14            Defendant.
15
16                  MOTION FOR REMOVAL FROM THE CM/ECF SYSTEM
                      SERVICE LIST AND ORDER GRANTING MOTION
17
18          COMES NOW, MICHAEL J. MICELI, ESQ., former attorney for PORFIRIO

19   INFANTE-CERVANTES, and files this Motion for Removal from the CM/ECF System List (the
20
     “Motion”) in the above-entitled matter.
21
     ////
22
23   ////

24   ////
25
     ////
26
     ////
27
28   ////
 Case 2:12-cr-00383-JCM-CWH         Document 100        Filed 04/08/14      Page 2 of 2



 1       The basis of this Motion is that defendant has retained private counsel on this case.
 2
         DATED this 4th day of April, 2014.
 3
 4
 5                                                                 /S/ MICHAEL J. MICELI
                                                              MICHAEL J. MICELI, ESQ.
 6                                                            Nevada Bar No. 010151
 7                                                            601 Las Vegas Blvd. South
                                                              Las Vegas, Nevada 89101
 8                                                            Attorney for Defendant
                                                              PORFIRIO INFANTE-CERVANTES
 9
10                                            ORDER
11       IT IS SO ORDERED.
12                     8th
         DATED this ____________ day of April, 2014.
13
14
                                                      __________________________________
15                                               C.W. UNITED
                                                      Hoffman,STATES
                                                                Jr.     DISTRICT JUDGE
                                                 United States Magistrate Judge
16
17
18
19
20
21
22
23
24
25
26
27
28
                       8th
                                                 -2-
